                                           Case 5:20-mc-80156-JD Document 34 Filed 11/30/20 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

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                                   8     IN RE EX PARTE APPLICATION OF                      Case No. 20-mc-80156-VKD
                                         TATIANA AKHMEDOVA,
                                   9                     Applicant.                         ORDER FOR REASSIGNMENT TO A
                                  10                                                        DISTRICT JUDGE

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                                  12
Northern District of California
 United States District Court




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                                  14           A party having filed a motion for de novo review or in the alternative, for review of a non-

                                  15   dispositive order by a magistrate judge (Dkt. No. 31), the Clerk of the Court shall reassign this

                                  16   matter to a district judge.

                                  17           IT IS SO ORDERED.

                                  18   Dated: November 30, 2020

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                                                                                                    VIRGINIA K. DEMARCHI
                                  21                                                                United States Magistrate Judge
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